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                                                                         NO'/ 1 , 2016
                                                                      Clerk, U,S, District Cou11
                                                                        District Of Montana
                                                                               Billings

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

  UNITED STATES OF AMERICA,
                                                    CR 16-82-BLG-SPW-3
                       Plaintiff,

  vs.                                           ORDER RESETTING TRIAL
                                                AND PRETRIAL DEADLINES
  FRANK JAMES SANCHEZ,

                       Defendant.


        Pursuant to the Court's Order on Motion to Sever (Doc. 98) Defendant

Angelica Jo Whiteman's trial from the trial of her Co-Defendant Frank James

Sanchez,

        IT IS HEREBY ORDERED that the trial date of April 24, 201 7 is VA CATED

for Defendant, Frank James Sanchez only.

        IT IS FURTHER ORDERED that trial with a jury for Defendant Frank

James Sanchez is reset for 9:00 a.m. on Monday, April 10, 2017 before the

Honorable Susan P. Watters. Counsel should be in the Snowy Mountains Courtroom

at 8:30 a.m. for a Final Pretrial Conference.
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      IT IS FURTHER ORDERED that the scheduling deadlines shall be reset as

follows:

      Pretrial Motions Deadline:                     February 17, 2017

      Motions in Limine Deadline:                    March 10, 2017

      Motion for Change of Plea
      Deadline:                                      March 31, 2017

      Jury Instructions, Trial Briefs,
      and Trial Notebooks Deadline:                  April 3, 2017

      Notice of Intent to Use Real-Time,
      Present Evidence Electronically or
      Video Conferencing for Witnesses:              April 3, 2017
      ANY MOTIONS TO CONTINUE
      TRIAL Deadline• (In Order to Allow
      the Jury Clerk Sufficient Time to Notify
      Prospective Jurors); failure to comply
      may subject counsel to sanctions.              March 27, 2017

      Plea Agreement Deadline:                       48 hours prior to Change of
                                                     Plea hearing

      This schedule must be strictly adhered to by the parties.

      To efficiently prepare for trial within the times set above,

      IT IS FURTHER ORDERED:

      1.    This case will be governed by current Federal Rules of Evidence and
            Local Rules of Procedure for the United States District Court for the

       *All motions to continue filed by defense counsel must include a suggested
future date or time frame for the Court's use in resetting the trial. In addition,
defense counsel is directed to notify the Court in the motion whether the defendant
is in custody.

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     District of Montana.

2.   On or before the discovery deadline set above, the government shall,
     upon request of the attorneys for the defendants, provide to the
     defendant all discoverable materials specified in Rule 16(a) of the
     Federal Rules of Criminal Procedure. The government shall make
     specific disclosure of its intent to use any statements or confessions
     made by the defendants. If the defendants question the admissibility
     of such statement or confession, the hearing required by Jackson v.
     Denno, 378 U.S. 368 (1964), shall be held at least ten (10) days prior
     to trial.

3.   Upon compliance by the government with the defendants' discovery
     request, defendants shall supply reciprocal discovery pursuant to Fed.
     R. Crim. P. 16(b).


4.   Counsel for the parties shall confer, prior to the filing of motions, to
     attempt to reach agreement upon all pretrial motions, including
     motions for discovery and disclosure. The Government shall provide
     a proposed stipulation to the Defense regarding the appropriate
     handling and disposition of discovery materials. The proposed
     stipulation may be more restrictive than the current discovery
     disclosure requirements of the Court's Local Rule CR 16. In the event
     the parties are unable to reach an agreement on the proposed
     stipulation, either party may file an appropriate motion with the Court.

5.   The parties are under a continuing duty of disclosure and discovery of
     materials set forth herein, pursuant to Fed. R. Crim. P. 16(c). If
     expert witnesses are engaged, the parties shall fully comply with the
     requirements of Rule 16(a)(l)(G) and Rule 16(b)(l)(c), respectively.

6.   Motions: All pretrial motions, other than a motion to enter a guilty
     plea, must be filed, along with a brief in support, on or before the
     motions deadline indicated above. Response and optional reply briefs
     shall be filed within the time frames set forth in Local Rule CR 4 7 .2.
     Parties are advised that, pursuant to Local Rule 1.4(c)(5), they
     shall submit a paper copy of all filings in excess of twenty (20)
     pages to Judge Watters' Chambers. By "filings," the Court means
     any combination of a motion, brief in support, attachments or

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      exhibits that when taken together exceed twenty (20) pages. All
      documents filed pursuant to a motion for summary judgment are
      subject to this requirement.

             Suppression Motions: To facilitate hearings on suppression
             motions, the parties are required to submit supporting factual
             documentation with motions to suppress - e.g., affidavits, tapes,
             Miranda waiver forms, etc. Response briefs (and reply briefs, if
             submitted) should state with particularity the factual issues
             remaining in dispute for resolution at a suppression hearing.

7.    Any party to a criminal proceeding requesting service of a criminal
      summons or subpoena by the United States Marshals Service must
      notify the Marshal of the request, along with all documentation
      necessary to effectuate service, no later than twenty-one (21) days
      before the desired date of service. A lesser time period may be
      allowed only upon motion and good cause shown pursuant to Local
      Rule CR 17 .2. Except for good cause shown, service of subpoenas
      after said date is the responsibility of counsel.

8.    Calling witnesses at trial: When a witness is called to testify at trial,
      counsel shall provide to the clerk of court four (4) copies of a single
      page document providing the following information about the witness:
       1) the full name and current address of the witness; 2) whether the
      witness has given a statement (taped), a written statement, an
      interview with government agents (other than an AUSA), or grand
      jury testimony; 3) a brief description of the nature and substance of
      the witness's testimony; 4) a listing of each exhibit to which the
      witness may refer during direct examination.

9.    Any petition for a writ of habeas corpus ad testificandum or
      prosequendum, along with a proposed order, must be filed no later
      than thirty (30) days prior to the trial date for federal inmates, and no
      later than ten (10) days prior to the trial date for state prison or county
      jail inmates.

10.   The United States shall submit a trial brief at the same time jury
      instructions are submitted. The defendant may submit a trial brief.
      All trial briefs shall include legal authority for the party's position on
      all legal and evidentiary issues. All trial briefs must be filed with
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      the Clerk of Court and served on the other parties.

11.   The parties shall be prepared to use the Jury Evidence Recording
      System (JERS). JERS allows jurors to use a touch-screen to see the
      evidence admitted at trial in the jury room during their deliberations.
      JERS is NOT designed to present evidence in the courtroom. Counsel
      are responsible for showing their own exhibits during trial. Detailed
      information about how to use JERS, including the proper naming
      convention and form of exhibits, is found on the Court's website,
      http://www.mtd.uscourts.gov/ under the heading "Attorneys". Parties
      must submit their exhibits in proper form to the clerk's office no later
      than one week before trial.

12.   In the absence of a signed plea agreement by the date specified above,
      the Clerk of Court will order a jury. Except for good cause shown,
      no plea agreement will be considered by the Court thereafter.
      Late filing may result in assessment of costs or the loss of the offense
      level reduction available pursuant to U.S.S.G. §3El. l. Plea
      agreements shall state clearly whether they are made pursuant to
      Rule ll(c)(l)(A), (B) or (C), Fed.R.Crim.P.

13.   Originals of proposed voir dire questions shall be filed with the Clerk
      of Court at the same time as proposed jury instructions. One Word or
      WordPerfect version shall be e-mailed to the Chambers of Judge
      Watters at spw propord@mtd.uscourts.gov.

14.   The parties shall submit a joint proposed verdict form with the
      proposed jury instructions by the date specified above. If the parties
      are unable to agree on a verdict form, each party shall submit an
      individual proposed verdict form.

15.   JURY INSTRUCTIONS:

      (a)   The parties shall jointly prepare a set of jury instructions upon
            which they agree (proposed joint instructions). These proposed
            jury instructions shall include all necessary stock criminal
            instructions. If necessary, each party may also prepare a set of
            proposed supplemental instructions if different from the agreed
            joint instructions. No two instructions shall be submitted
            with the same number.

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      (b)   Filing of Joint Proposed Jury Instructions and Joint Proposed
            Verdict Form: By the date set forth above, any party filing
            electronically shall (1) file one working copy of the Joint
            Proposed Jury Instructions and Joint Proposed Verdict Form,
            and (2) e-mail the same documents, plus a clean copy of each,
            to spw propord@mtd.uscourts.gov.

      (c)   Electronic Filers' Supplemental Proposed Jury Instructions and
            Separate Verdict Forms: By the date set forth above, each party
            shall ( 1) file one working copy of its supplemental proposed
            Jury Instructions, together with its proposed verdict form ifthe
            parties do not jointly propose one; and (2) e-mail the same
            documents, plus a clean copy of each, to
            spw propord@mtd.uscourts.gov.

      (d)   Conventional Filers' Supplemental Proposed Jury Instructions
            and Separate Verdict Forms: By the date set forth above, each
            party shall (1) deliver to the Clerk of Court in the Division of
            venue one working copy of its supplemental proposed Jury
            Instructions, together with its proposed verdict form ifthe
            parties do not jointly propose one; and (2) e-mail the same
            documents, plus a clean copy of each, to
            spw propord@mtd.uscourts.gov.

16.   FORMAT OF JURY INSTRUCTIONS

      (a)   The clean copy shall contain
            1) a heading reading "Instruction No._";
            2) the text of the instruction;
            3) no citations or markings other than the text.

      (b)   The working copy shall contain
            (1) a heading reading "Instruction No._";
            (2) the text of the instruction;
            (3) the number of the proposed joint or
            supplemental instruction;
            (4) the legal authority for the instruction;
            (5) the title of the instruction; i.e., the issue
               of law addressed by the proposed instruction.
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      (c)    Jury instructions shall be prepared in Times New Roman Font
             and 14 point typeface.

17.   The parties are advised that final instructions for submission to the
      jury will be settled in the courtroom, on the record, prior to closing
      argument, at which time counsel may present arguments and make
      objections.

18.   All instructions shall be short, concise, understandable and shall
      represent neutral statements of the law. Argumentative instructions
      are improper, will not be given, and should not be submitted. The
      parties are strongly encouraged to submit proposed instructions taken
      from the most recent version of the Manual of Model Criminal Jurv
      Instructions for the Ninth Circuit.

19.   The parties should also note that any modifications of instructions
      from statutory authority, Ninth Circuit pattern instructions, or De Vitt
      and Blackmar (or any other form instructions), must specifically state
      modification made to the original form instruction and the authority
      supporting the modification.

20.   Exhibits: The United States shall use exhibit numbers 1-499 and
      defendants shall use 500 and up. In no event shall two or more parties
      use identical exhibit numbers.

21.   Judge's Trial Notebook: If the case proceeds to trial, the United
      States shall prepare and submit three (3) trial notebooks in
      accordance with the deadline set forth above. The trial notebooks
      shall include an index; the charging document; relevant statutes;
      parties' trial briefs, proposed voir dire, witness lists, exhibit lists,
      proposed jury instructions and verdict forms; and relevant orders
      entered in the case.

22.   Jury Lists: Local Rule CR 55.1 requires the Clerk of Court to seal
      the list of all trial jurors and prospective jurors called for each
      criminal case immediately at the conclusion of trial. Such lists shall
      remain sealed unless otherwise ordered by the Court. All juror lists
      retained by defense counsel shall not be released to a defendant

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               without express written Order of the Court, upon formal motion.

      23. Failure to comply with any of the above requirements may subject
the non-complying party and/or its attorneys to sanctions.

         The Clerk of Court is directed to notify the parties of the making of this
order.
                              ~
         DATED this      /0     day ofNovemb r, 2016.


                                           USANP. WATTERS
                                          UNITED STATES DISTRICT JUDGE




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